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 6                          UNITED STATES DISTRICT COURT
 7                         EASTERN DISTRICT OF CALIFORNIA
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 9   MICHELLE RIVAS and THOMAS       )            1:08-cv-0942 OWW SMS
     KASCHAK,                        )
10                                   )            ORDER AFTER SCHEDULING
                    Plaintiffs,      )            CONFERENCE
11                                   )
          v.                         )
12                                   )
     CALIFORNIA FRANCHISE TAX BOARD, )
13   et al.,                         )
                                     )
14                  Defendants.      )
                                     )
15                                   )
16
17   I.     Date of Scheduling Conference.
18          May 8, 2009.
19   II.    Appearances Of Counsel.
20          James R. Rowe, Esq., and Michelle Sassano, Esq., appeared on
21   behalf of Plaintiffs.
22          Stephen C. Pass, Esq., Deputy Attorney General, appeared on
23   behalf of Defendant State of California, by and through Franchise
24   Tax Board, John Chiang and Slue Railsback.
25   III.    Summary of Pleadings.
26          1.    The Plaintiffs’ Complaint asserts causes of action for:
27   (1) denial of due process pursuant to 42 U.S.C. § 1983; (2)
28   excessive force; (3) negligent infliction of emotional distress;

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 1   (4) intentional infliction of emotional distress; and (5)
 2   conspiracy.    Plaintiffs contend that the Defendants committed
 3   said acts by, among other things, raiding their home in the early
 4   morning hours, restricting their freedom and movement without
 5   just cause, and denying them access to legal counsel despite
 6   countless demands over the course of a lengthy interrogation.
 7   Further, Plaintiffs allege that Defendants, and each of them,
 8   engaged in a conspiracy to perpetrate falsehoods and fraudulent
 9   allegations upon Plaintiffs, to the detriment of Plaintiffs.
10        2.   On December 23, 2008 this Court granted in part and
11   denied in part Defendants’ motion to dismiss as follows:
12             a.     The Court granted the motion to dismiss Plaintiff
13   Rivas’ entire action.    It dismissed all of her federal claims on
14   statute of limitations grounds and all of her state tort claims
15   for failing to allege facts demonstrating or excusing compliance
16   with the California Tort Claims Act (CTCA) claim presentation
17   requirement.
18             b.     The Court granted the motion to dismiss Plaintiff
19   Kaschak’s federal official capacity claims against Chiang and
20   Railsback and all federal search-related claims against Chiang on
21   statute of limitations grounds.      The court denied the motion as
22   to Kaschak’s individual capacity claims against federal search-
23   related claims against Railsback and the FTB and his possible
24   federal excessive force claims against Railsback and Chiang.            The
25   court also granted the motion as to all of his state tort claims
26   for failing to allege facts demonstrating or excusing compliance
27   with the CTCA claim presentation requirement.
28             c.     The Court stayed the action as to all claims

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 1   except the excessive force claims.
 2               d.      The court allowed Plaintiff Kaschak 30 days from
 3   the date of the order to amend his complaint consistent with its
 4   decision.
 5   IV.   Orders Re Amendments To Pleadings.
 6         1.    Plaintiff shall have five days to file any amended
 7   complaint.    Thereafter, Defendants shall have 60 days to respond
 8   to the amended complaint.       If any new pleading issues are raised
 9   by motion, following the ruling by the Court on such a motion, to
10   the extent claims survive, a further Scheduling Conference shall
11   be held.    The parties shall notify the courtroom deputy clerk and
12   obtain a new Scheduling Conference date once a ruling on any
13   pleading motion to the amended complaint has been resolved.
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16   IT IS SO ORDERED.
17   Dated: May 11, 2009                    /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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